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         EXHIBIT C
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HIGHLIGHTS OF PRESCRIBING INFORMATION                                                        cough, or hemoptysis. Surgical interventions may be necessary to
These highlights do not include all the information needed to use                            remove implants. (5.1)
NEXPLANON safely and effectively. See full prescribing                                  •    Menstrual bleeding pattern: Counsel women regarding changes in
information for NEXPLANON.                                                                   bleeding frequency, intensity, or duration. (5.2)
                                                                                        •    Ectopic pregnancies: Be alert to the possibility of an ectopic
NEXPLANON (etonogestrel implant)                                                            pregnancy in women using NEXPLANON who become pregnant
Radiopaque                                                                                   or complain of lower abdominal pain. (5.3)
Subdermal Use Only                                                                      •    Thrombotic and other vascular events: The NEXPLANON implant
Initial U.S. Approval: 2001                                                                  should be removed in the event of a thrombosis. (5.4)
                                                                                        •    Liver disease: Remove the NEXPLANON implant if jaundice
--------------------------- RECENT MAJOR CHANGES ---------------------------
                                                                                             occurs. (5.7)
Dosage and Administration, Insertion of NEXPLANON (2.2)          09/2023
                                                                                        •    Elevated blood pressure: The NEXPLANON implant should be
Warnings and Precautions, Complications of Insertion/Removal and
                                                                                             removed if blood pressure rises significantly and becomes
Broken/Bent Implants (5.1)                                       09/2023
                                                                                             uncontrolled. (5.9)
----------------------------INDICATIONS AND USAGE ----------------------------          •    Carbohydrate and lipid metabolic effects: Monitor prediabetic and
NEXPLANON is a progestin indicated for use by women to prevent                               diabetic women using NEXPLANON. (5.11)
pregnancy. (1)
                                                                                        ------------------------------ ADVERSE REACTIONS ------------------------------
 ----------------------- DOSAGE AND ADMINISTRATION -----------------------              Most common (≥10%) adverse reactions reported in clinical trials were
Insert one NEXPLANON subdermally just under the skin at the inner                       change in menstrual bleeding pattern, headache, vaginitis, weight
side of the non-dominant upper arm. NEXPLANON must be removed no                        increase, acne, breast pain, abdominal pain, and pharyngitis. (6.1)
later than by the end of the third year. (2)
                                                                                        To report SUSPECTED ADVERSE REACTIONS, contact Organon
--------------------- DOSAGE FORMS AND STRENGTHS ---------------------                  USA LLC, a subsidiary of Organon & Co., at 1-844-674-3200 or FDA
NEXPLANON consists of a single, radiopaque, rod-shaped implant,                         at 1-800-FDA-1088 or www.fda.gov/medwatch.
containing 68 mg etonogestrel, pre-loaded in the needle of a disposable
                                                                                        ------------------------------- DRUG INTERACTIONS -------------------------------
applicator. (3)
                                                                                        Drugs or herbal products that induce certain enzymes, such as CYP3A4,
 -------------------------------CONTRAINDICATIONS -------------------------------       may decrease the effectiveness of progestin hormonal contraceptives or
•      Known or suspected pregnancy. (4)                                                increase breakthrough bleeding. (7.1)
•      Current or past history of thrombosis or thromboembolic disorders.
                                                                                        ----------------------- USE IN SPECIFIC POPULATIONS -----------------------
       (4, 5.4)
                                                                                        •      Pregnancy: Discontinue if maintaining a pregnancy. (8.1)
•      Liver tumors, benign or malignant, or active liver disease. (4, 5.7)
                                                                                        •      Overweight women: NEXPLANON may become less effective in
•      Undiagnosed abnormal genital bleeding. (4, 5.2)
                                                                                               overweight women over time, especially in the presence of other
•      Known or suspected breast cancer, personal history of breast                            factors that decrease etonogestrel concentrations, such as
       cancer, or other progestin-sensitive cancer, now or in the past. (4,                    concomitant use of hepatic enzyme inducers. (8.7)
       5.6)
•      Allergic reaction to any of the components of NEXPLANON. (4, 6)                  See 17 for PATIENT COUNSELING INFORMATION and FDA-
                                                                                        approved patient labeling.
----------------------- WARNINGS AND PRECAUTIONS------------------------                                                     Revised: 09/2023
•     Insertion and removal complications: Pain, paresthesia, bleeding,
      hematoma, scarring, infection, or migration to vasculature,
      including pulmonary vessels, may occur. Symptoms associated
      with implants in pulmonary vessels include chest pain, dyspnea,


FULL PRESCRIBING INFORMATION: CONTENTS*                                                    5.17 Drug-Laboratory Test Interactions
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   16.2 Storage and Handling                                     *Sections or subsections omitted from the full prescribing information
17 PATIENT COUNSELING INFORMATION                                are not listed.

       FULL PRESCRIBING INFORMATION
       1     INDICATIONS AND USAGE
             NEXPLANON is indicated for use by women to prevent pregnancy.
       2     DOSAGE AND ADMINISTRATION
             The efficacy of NEXPLANON does not depend on daily, weekly, or monthly administration.

             All healthcare professionals should receive instruction and training prior to performing insertion
       and/or removal of NEXPLANON.

             A single NEXPLANON implant is inserted subdermally just under the skin at the inner side of the
       non-dominant upper arm. The insertion site is overlying the triceps muscle about 8-10 cm (3-4 inches)
       from the medial epicondyle of the humerus and 3-5 cm (1.25-2 inches) posterior to (below) the sulcus
       (groove) between the biceps and triceps muscles. This location is intended to avoid the large blood
       vessels and nerves lying within and surrounding the sulcus (see Figures 2a, 2b and 2c). Inserting an
       implant more deeply than subdermally (a deep insertion) may preclude palpation and localization,
       making removal difficult or impossible [see Dosage and Administration (2.3) and Warnings and
       Precautions (5.1)].

             NEXPLANON must be inserted by the expiration date stated on the packaging. NEXPLANON is
       a long-acting (up to 3 years), reversible, hormonal contraceptive method. The implant must be removed
       by the end of the third year and may be replaced by a new implant at the time of removal, if continued
       contraceptive protection is desired.


       2.1   Initiating Contraception with NEXPLANON

             IMPORTANT: Rule out pregnancy before inserting the implant.

             Timing of insertion depends on the woman’s recent contraceptive history, as follows:

             •     No preceding hormonal contraceptive use in the past month
                    NEXPLANON should be inserted between Day 1 (first day of menstrual bleeding) and Day
                 5 of the menstrual cycle, even if the woman is still bleeding.
                    If inserted as recommended, back-up contraception is not necessary. If deviating from the
                 recommended timing of insertion, the woman should be advised to use a barrier method until
                 7 days after insertion. If intercourse has already occurred, pregnancy should be excluded.

             •     Switching contraceptive method to NEXPLANON
                   Combination hormonal contraceptives:
                    NEXPLANON should preferably be inserted on the day after the last active tablet of the
                 previous combined oral contraceptive or on the day of removal of the vaginal ring or
                 transdermal patch. At the latest, NEXPLANON should be inserted on the day following the
                 usual tablet-free, ring-free, patch-free or placebo tablet interval of the previous combined
                 hormonal contraceptive.
                    If inserted as recommended, back-up contraception is not necessary. If deviating from the
                 recommended timing of insertion, the woman should be advised to use a barrier method until
                 7 days after insertion. If intercourse has already occurred, pregnancy should be excluded.
                  Progestin-only contraceptives:
               There are several types of progestin-only methods. NEXPLANON should be inserted as
             follows:
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             •     Injectable Contraceptives: Insert NEXPLANON on the day the next injection is due.
             •     Minipill: A woman may switch to NEXPLANON on any day of the month. NEXPLANON
                   should be inserted within 24 hours after taking the last tablet.
             •     Contraceptive implant or intrauterine system (IUS): Insert NEXPLANON on the same day
                   the previous contraceptive implant or IUS is removed.
                If inserted as recommended, back-up contraception is not necessary. If deviating from the
             recommended timing of insertion, the woman should be advised to use a barrier method until
             7 days after insertion. If intercourse has already occurred, pregnancy should be excluded.

         •       Following abortion or miscarriage
             •     First Trimester: NEXPLANON should be inserted within 5 days following a first trimester
                   abortion or miscarriage.
             •     Second Trimester: Insert NEXPLANON between 21 to 28 days following second
                   trimester abortion or miscarriage.
                If inserted as recommended, back-up contraception is not necessary. If deviating from the
             recommended timing of insertion, the woman should be advised to use a barrier method until
             7 days after insertion. If intercourse has already occurred, pregnancy should be excluded.

         •       Postpartum
             •    Not Breastfeeding: NEXPLANON should be inserted between 21 to 28 days postpartum.
                  If inserted as recommended, back-up contraception is not necessary. If deviating from the
                  recommended timing of insertion, the woman should be advised to use a barrier method
                  until 7 days after insertion. If intercourse has already occurred, pregnancy should be
                  excluded.
             •    Breastfeeding: NEXPLANON should not be inserted until after the fourth postpartum week.
                  The woman should be advised to use a barrier method until 7 days after insertion. If
                  intercourse has already occurred, pregnancy should be excluded.
  2.2   Insertion of NEXPLANON
        The basis for successful use and subsequent removal of NEXPLANON is a correct and carefully
  performed subdermal insertion of the single, rod-shaped implant in accordance with the instructions.
  Both the healthcare professional and the woman should be able to feel the implant under the skin after
  placement.

       All healthcare professionals performing insertions and/or removals of NEXPLANON
  should receive instructions and training prior to inserting or removing the implant.
        Preparation
         Before inserting NEXPLANON, carefully read the instructions for insertion as well as the
  full prescribing information. If you are unsure of the necessary steps to safely insert and/or
  remove NEXPLANON, do not attempt the procedure.

       Call the Organon Service Center at 1-844-674-3200 if you have any questions. Videos
  demonstrating insertion and removal are available online for trained healthcare professionals
  (www.nexplanontraining.com).


         Before insertion of NEXPLANON, the healthcare professional should confirm that:
        • The woman is not pregnant and has no other contraindication for the use of NEXPLANON
            [see Contraindications (4)].
        • The woman has had a medical history and physical examination, including a gynecologic
            examination, performed.

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       •   The woman understands the benefits and risks of NEXPLANON.
       •   The woman has received a copy of the Patient Labeling included in packaging.
       •   The woman does not have allergies to the antiseptic and anesthetic to be used during
           insertion.

        Insert NEXPLANON under aseptic conditions.

        The following equipment is needed for the implant insertion:
       • An examination table for the woman to lie on
       • Sterile surgical drapes, sterile gloves, antiseptic solution, surgical marker
       • Local anesthetic, needles, and syringe
       • Sterile gauze, adhesive bandage, pressure bandage
        Insertion Procedure
        To help make sure the implant is inserted just under the skin, the healthcare professionals
  should be positioned to see the advancement of the needle by viewing the applicator from the
  side and not from above the arm. From the side view, the insertion site and the movement of
  the needle just under the skin can be clearly visualized.

        For illustrative purposes, Figures depict the left inner arm.

        Step 1. Have the woman lie on her back on the examination table with her non-dominant arm
  flexed at the elbow and externally rotated so that her hand is underneath her head (or as close as
  possible) (Figure 1).




                                                 Figure 1

         Step 2. Identify the insertion site, which is at the inner side of the non-dominant upper arm.
  The insertion site is overlying the triceps muscle about 8-10 cm (3-4 inches) from the medial epicondyle
  of the humerus and 3-5 cm (1.25-2 inches) posterior to (below) the sulcus (groove) between the biceps
  and triceps muscles (Figures 2a, 2b and 2c). This location is intended to avoid the large blood vessels
  and nerves lying within and surrounding the sulcus. If it is not possible to insert the implant in this
  location (e.g., in women with thin arms), it should be inserted as far posterior from the sulcus as
  possible. [See Warnings and Precautions (5.1).]
         Step 3. Make two marks with a surgical marker: first, mark the spot where the etonogestrel
  implant will be inserted, and second, mark a spot at 5 centimeters (2 inches) proximal (toward the
  shoulder) to the first mark (Figure 2a and 2b). This second mark (guiding mark) will later serve as a
  direction guide during insertion.




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                                                Figure 2a
                                   P – Proximal (toward the shoulder)
                                      D – Distal (toward the elbow)




                          Figure 2b                            Figure 2c: Cross section of the upper left
                                                                    arm, as viewed from the elbow
                                                                     Medial (inner side of the arm)
                                                                    Lateral (outer side of the arm)

         Step 4.   After marking the arm, confirm the site is in the correct location on the inner side of the
  arm.
          Step 5. Clean the skin from the insertion site to the guiding mark with an antiseptic solution.
          Step 6. Anesthetize the insertion area (for example, with anesthetic spray or by injecting 2 mL
  of 1% lidocaine just under the skin along the planned insertion tunnel).
          Step 7. Remove the sterile preloaded disposable NEXPLANON applicator containing the
  implant from its blister packaging. Prior to use, visually inspect the packaging for breaches of integrity
  or damage (e.g., torn, punctured, etc.). If the packaging has any visual damage that could compromise
  sterility, do not use the product.
          Step 8. Hold the applicator just above the needle at the textured surface area. Remove the
  transparent protection cap by sliding it horizontally in the direction of the arrow away from the needle
  (Figure 3). If the cap does not come off easily, the applicator should not be used. You should see the
  white colored implant by looking into the tip of the needle. Do not touch the purple slider until you
  have fully inserted the needle subdermally, as doing so will retract the needle and prematurely
  release the implant from the applicator.
          Step 9. If the purple slider is released prematurely, restart the procedure with a new applicator.
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                                                   Figure 3

        Step 10. With your free hand, stretch the skin around the insertion site towards the elbow (Figure
  4).




                                                 Figure 4

       Step 11. The implant should be inserted subdermally just under the skin [see Warnings
  and Precautions (5.1)].

       To help make sure the implant is inserted just under the skin, you should position yourself
  to see the advancement of the needle by viewing the applicator from the side and not from
  above the arm. From the side view (see Figure 6), you can clearly see the insertion site and the
  movement of the needle just under the skin.

        Step 12. Puncture the skin with the tip of the needle slightly angled less than 30° (Figure 5a).




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                                                   Figure 5a

         Step 13. Insert the needle until the bevel (slanted opening of the tip) is just under the skin (and
  no further) (Figure 5b). If you inserted the needle deeper than the bevel, withdraw the needle until only
  the bevel is beneath the skin.




                                                   Figure 5b


         Step 14.     Lower the applicator to a nearly horizontal position. To facilitate subdermal
  placement, lift the skin with the needle while sliding the needle to its full length (Figure 6). You may feel
  slight resistance but do not exert excessive force. If the needle is not inserted to its full length, the
  implant will not be inserted properly.

       If the needle tip emerges from the skin before needle insertion is complete, the needle
  should be pulled back and be readjusted to subdermal position before completing the insertion
  procedure.




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                                                  Figure 6

         Step 15.    Keep the applicator in the same position with the needle inserted to its full length
  (Figure 7). If needed, you may use your free hand to stabilize the applicator. Unlock the purple slider
  by pushing it slightly down (Figure 8a). Move the slider fully back until it stops. Do not move the
  applicator while moving the purple slider (Figure 8b). The implant is now in its final subdermal
  position, and the needle is locked inside the body of the applicator. The applicator can now be removed
  (Figure 8c).




                                                 Figure 7




                         Figure 8a                                           Figure 8b

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                                                Figure 8c

       If the applicator is not kept in the same position during this procedure or if the purple
 slider is not moved fully back until it stops, the implant will not be inserted properly and may
 protrude from the insertion site.

       If the implant is protruding from the insertion site, remove the implant and perform a new procedure
 at the same insertion site using a new applicator. Do not push the protruding implant back into the
 incision.

       Step 16.     Apply a small adhesive bandage over the insertion site.

        Step 17.   Always verify the presence of the implant in the woman’s arm immediately
 after insertion by palpation. By palpating both ends of the implant, you should be able to confirm the
 presence of the 4 cm rod (Figure 9). See “If the rod is not palpable after insertion” below.




                                                 Figure 9

        Step 18. Request that the woman palpate the implant.
        Step 19. Apply a pressure bandage with sterile gauze to minimize bruising. The woman may
 remove the pressure bandage in 24 hours and the small adhesive bandage over the insertion site after
 3 to 5 days.
        Step 20.   Complete the PATIENT CHART LABEL and affix it to the woman's medical record.
        Step 21.   The applicator is for single use only and should be disposed in accordance with the
 Center for Disease Control and Prevention guidelines for handling of hazardous waste.


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 If the rod is not palpable after insertion:

 If you cannot feel the implant or are in doubt of its presence, the implant may not have been
 inserted or it may have been inserted deeply:
 •      Check the applicator. The needle should be fully retracted and only the purple tip of the obturator
        should be visible.
 •      Use other methods to confirm the presence of the implant. Given the radiopaque nature of the
        implant, suitable methods for localization are two-dimensional X-ray and X-ray computerized
        tomography (CT scan). Ultrasound scanning (USS) with a high-frequency linear array
        transducer (10 MHz or greater) or magnetic resonance imaging (MRI) may be used. If these
        methods fail, call the Organon Service Center at 1-844-674-3200 for information on the
        procedure for measuring etonogestrel blood levels which can be used for verification of the
        presence of the implant.

      Until the presence of the implant has been verified, the woman should be advised to use
 a non-hormonal contraceptive method, such as condoms.

       Deeply-placed implants should be localized and removed as soon as possible to avoid the
 potential for distant migration [see Warnings and Precautions (5.1)].
 2.3   Removal of NEXPLANON
       Preparation
       Removal of the implant should only be performed under aseptic conditions by a healthcare
 professional who is familiar with the removal technique. If you are unfamiliar with the removal
 technique, call 1-844-674-3200 for further information.
        Before initiating the removal procedure, the healthcare professional should assess the location
 of the implant and carefully read the instructions for removal. The exact location of the implant in the
 arm should be verified by palpation. If the implant is not palpable, consult the medical record to verify
 the arm which contains the implant. If the implant cannot be palpated, it may be deeply located or have
 migrated. Consider that it may lie close to vessels and nerves. Removal of non-palpable implants
 should only be performed by a healthcare professional experienced in removing deeply placed implants
 and familiar with localizing the implant and the anatomy of the arm. Call 1-844-674-3200 for further
 information. [See Localization and Removal of a Non-Palpable Implant, below.]


       Procedure for Removal of an Implant that is Palpable
       Before removal of the implant, the healthcare professional should confirm that:
       • The woman does not have allergies to the antiseptic or anesthetic to be used.

       The following equipment is needed for removal of the implant:
       • An examination table for the woman to lie on
       • Sterile surgical drapes, sterile gloves, antiseptic solution, surgical marker
       • Local anesthetic, needles, and syringe
       • Sterile scalpel, forceps (straight and curved mosquito)
       • Skin closure, sterile gauze, and pressure bandage

       Removal Procedure
       For illustrative purposes, Figures depict the left inner arm

      Step 1.    Have the woman lie on her back on the table. The arm should be positioned with the
 elbow flexed and the hand underneath the head (or as close as possible). (See Figure 1.)


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       Step 2. Locate the implant by palpation. Push down the end of the implant closest to the
 shoulder (Figure 10) to stabilize it; a bulge should appear indicating the tip of the implant that is closest
 to the elbow. If the tip does not pop up, removal of the implant may be more challenging and
 should be performed by professionals experienced with removing deeper implants. Call 1-844-674-
 3200 for further information.
       Mark the distal end (end closest to the elbow), for example, with a surgical marker.




                                                Figure 10
                                    P – Proximal (toward the shoulder)
                                       D – Distal (toward the elbow)

        Step 3. Clean the site with an antiseptic solution.
        Step 4. Anesthetize the site, for example, with 0.5 to 1 mL 1% lidocaine, where the incision will
 be made (Figure 11). Be sure to inject the local anesthetic under the implant to keep the implant close
 to the skin surface. Injection of local anesthetic over the implant may make removal more difficult.




                                                    Figure 11


        Step 5. Push down the end of the implant closest to the shoulder (Figure 12) to stabilize it
 throughout the procedure. Starting over the tip of the implant closest to the elbow, make a longitudinal
 (parallel to the implant) incision of 2 mm towards the elbow. Take care not to cut the tip of the implant.




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                                                   Figure 12

        Step 6. The tip of the implant should pop out of the incision. If it does not, gently push the
 implant towards the incision until the tip is visible. Grasp the implant with forceps and, if possible,
 remove the implant (Figure 13). If needed, gently remove adherent tissue from the tip of the implant
 using blunt dissection. If the implant tip is not exposed following blunt dissection, make an incision into
 the tissue sheath and then remove the implant with the forceps (Figures 14 and 15).




                                                 Figure 13




                         Figure 14                                             Figure 15

                                                       12
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       Step 7. If the tip of the implant does not become visible in the incision, insert forceps (preferably
 curved mosquito forceps, with the tips pointed up) superficially into the incision (Figure 16). Gently
 grasp the implant and then flip the forceps over into your other hand (Figure 17).




                         Figure 16                                             Figure 17

       Step 8. With a second pair of forceps carefully dissect the tissue around the implant and grasp
 the implant (Figure 18). The implant can then be removed. If the implant cannot be grasped, stop
 the procedure and refer the woman to a healthcare professional experienced with complex
 removals or call 1-844-674-3200.




                                                 Figure 18

        Step 9. Confirm that the entire implant, which is 4 cm long, has been removed by measuring
 its length. There have been reports of broken implants while in the patient’s arm. In some cases, difficult
 removal of the broken implant has been reported. If a partial implant (less than 4 cm) is removed, the
 remaining piece should be removed by following the instructions in section 2.3. If the woman would like
 to continue using NEXPLANON, a new implant may be inserted immediately after the old implant is
 removed using the same incision as long as the site is in the correct location [see Dosage and
 Administration (2.4)].
        Step 10. After removing the implant, close the incision with a sterile adhesive wound closure.
        Step 11. Apply a pressure bandage with sterile gauze to minimize bruising. The woman may
 remove the pressure bandage in 24 hours and the sterile adhesive wound closure in 3 to 5 days.



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 Localization and Removal of a Non-Palpable Implant
        There have been reports of migration of the implant; usually this involves minor movement
 relative to the original position [see Warnings and Precautions (5.1)], but may lead to the implant not
 being palpable at the location in which it was placed. An implant that has been deeply inserted or has
 migrated may not be palpable and therefore imaging procedures, as described below, may be required
 for localization.

       A non-palpable implant should always be located prior to attempting removal. Given the
 radiopaque nature of the implant, suitable methods for localization include two-dimensional X-ray and
 X-ray computer tomography (CT). Ultrasound scanning (USS) with a high-frequency linear array
 transducer (10 MHz or greater) or magnetic resonance imaging (MRI) may be used. Once the implant
 has been localized in the arm, the implant should be removed by a healthcare professional experienced
 in removing deeply placed implants and familiar with the anatomy of the arm. The use of ultrasound
 guidance during the removal should be considered.

       If the implant cannot be found in the arm after comprehensive localization attempts, consider
 applying imaging techniques to the chest as events of migration to the pulmonary vasculature have
 been reported. If the implant is located in the chest, surgical or endovascular procedures may be
 needed for removal; healthcare professionals familiar with the anatomy of the chest should be
 consulted.

       If at any time these imaging methods fail to locate the implant, etonogestrel blood level
 determination can be used for verification of the presence of the implant. For details on etonogestrel
 blood level determination, call 1-844-674-3200 for further instructions.
        If the implant migrates within the arm, removal may require a minor surgical procedure with a
 larger incision or a surgical procedure in an operating room. Removal of deeply-inserted implants
 should be conducted with caution to help prevent injury to deeper neural or vascular structures in the
 arm. Non-palpable and deeply-inserted implants should be removed by healthcare professionals
 familiar with the anatomy of the arm and removal of deeply-inserted implants.

      Exploratory surgery without knowledge of the exact location of the implant is strongly
 discouraged.
 2.4    Replacing NEXPLANON
        Immediate replacement can be done after removal of the previous implant and is similar to the
 insertion procedure described in section 2.2 Insertion of NEXPLANON.

        The new implant may be inserted in the same arm, and through the same incision from which the
 previous implant was removed, if the site is in the correct location, i.e., 8-10 cm from the medial
 epicondyle of the humerus and 3-5 cm posterior to (below) the sulcus [see Dosage and Administration
 (2.2)]. If the same incision is being used to insert a new implant, anesthetize the insertion site [for
 example, 2 mL lidocaine (1%)] applying it just under the skin along the ‘insertion canal.’

       Follow the subsequent steps in the insertion instructions [see Dosage and Administration (2.2)].
 3    DOSAGE FORMS AND STRENGTHS
      Single, white/off-white, soft, radiopaque, flexible, ethylene vinyl acetate (EVA) copolymer implant,
 4 cm in length and 2 mm in diameter containing 68 mg etonogestrel, 15 mg of barium sulfate, and
 0.1 mg of magnesium stearate.
 4     CONTRAINDICATIONS
       NEXPLANON should not be used in women who have
       • Known or suspected pregnancy
       • Current or past history of thrombosis or thromboembolic disorders
       • Liver tumors, benign or malignant, or active liver disease

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       •   Undiagnosed abnormal genital bleeding
       •   Known or suspected breast cancer, personal history of breast cancer, or other progestin-
           sensitive cancer, now or in the past
       •   Allergic reaction to any of the components of NEXPLANON [see Adverse Reactions (6)]
 5    WARNINGS AND PRECAUTIONS
      The following information is based on experience with the etonogestrel implants
 (IMPLANON and/or NEXPLANON), other progestin-only contraceptives, or experience with
 combination (estrogen plus progestin) oral contraceptives.
 5.1   Complications of Insertion/Removal and Broken/Bent Implants

 Complications of Insertion and Removal
       NEXPLANON should be inserted subdermally so that it will be palpable after insertion, and this
 should be confirmed by palpation immediately after insertion. Failure to insert NEXPLANON properly
 may go unnoticed unless it is palpated immediately after insertion. Undetected failure to insert the
 implant may lead to an unintended pregnancy. Complications related to insertion and removal
 procedures may occur, e.g., pain, paresthesia, bleeding, hematoma, scarring, or infection.

        If NEXPLANON is inserted deeply (intramuscular or intrafascial), neural or vascular injury may
 occur. To help reduce the risk of neural or vascular injury, NEXPLANON should be inserted subdermally
 just under the skin at the inner side of the non-dominant upper arm overlying the triceps muscle, about
 8-10 cm (3-4 inches) from the medial epicondyle of the humerus, and 3-5 cm (1.25-2 inches) posterior
 to (below) the sulcus (groove) between the biceps and triceps muscles. This location is intended to
 avoid the large nerves and blood vessels lying within and surrounding the sulcus. Deep insertions of
 NEXPLANON have been associated with paresthesia (due to neural injury), migration of the implant
 (due to intramuscular or fascial insertion), and intravascular insertion. If infection develops at the
 insertion site, start suitable treatment. If the infection persists, the implant should be removed.
 Incomplete insertions or infections may lead to expulsion.

        Reports of implant migration within the arm may have been related to deep insertion. Postmarketing
 reports of implants located within the vessels of the arm and the pulmonary artery also may have been
 related to deep insertions or intravascular insertions. Some cases of implants found within the pulmonary
 artery were associated with chest pain and/or respiratory disorders (such as dyspnea, cough, or
 hemoptysis); others were asymptomatic. In cases where the implant has migrated to the pulmonary
 artery, endovascular or surgical procedures may be needed for removal.

       Implant removal may be difficult or impossible if the implant is not inserted correctly, is inserted
 too deeply, not palpable, encased in fibrous tissue, or has migrated. If at any time the implant cannot be
 palpated, it should be localized, and removal is recommended. When an implant is removed, it is
 important to remove it in its entirety [see Dosage and Administration (2.3)].

        Exploratory surgery without knowledge of the exact location of the implant is strongly
 discouraged. Removal of deeply inserted implants should be conducted with caution in order to prevent
 injury to deeper neural or vascular structures in the arm and be performed by healthcare professionals
 familiar with the anatomy of the arm. If the implant is located in the chest, healthcare professionals
 familiar with the anatomy of the chest should be consulted. Failure to remove the implant may result in
 continued effects of etonogestrel, such as compromised fertility, ectopic pregnancy, or persistence or
 occurrence of a drug-related adverse event.

 Broken or Bent Implants
       Cases of breakage or bending of implants while inserted within a patient’s arm have been
 reported. Cases of migration of a broken implant fragment within the arm have also occurred. These
 cases may be related to external forces, e.g., manipulation of the implant or contact sports. The release
 rate of etonogestrel may be slightly increased in a broken or bent implant, based on in vitro data. As


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 noted previously, when an implant is removed, it is important to remove it in its entirety [see Dosage
 and Administration (2.3)].


 5.2   Changes in Menstrual Bleeding Patterns
       After starting NEXPLANON, women are likely to have a change from their normal menstrual
 bleeding pattern. These may include changes in bleeding frequency (absent, less, more frequent or
 continuous), intensity (reduced or increased) or duration. In clinical trials of the non-radiopaque
 etonogestrel implant (IMPLANON), bleeding patterns ranged from amenorrhea (1 in 5 women) to
 frequent and/or prolonged bleeding (1 in 5 women). The bleeding pattern experienced during the first
 three months of NEXPLANON use is broadly predictive of the future bleeding pattern for many women.
 Women should be counseled regarding the bleeding pattern changes they may experience so that they
 know what to expect. Abnormal bleeding should be evaluated as needed to exclude pathologic
 conditions or pregnancy.

        In clinical studies of the non-radiopaque etonogestrel implant, reports of changes in bleeding
 pattern were the most common reason for stopping treatment (11.1%). Irregular bleeding (10.8%) was
 the single most common reason women stopped treatment, while amenorrhea (0.3%) was cited less
 frequently. In these studies, women had an average of 17.7 days of bleeding or spotting every 90 days
 (based on 3,315 intervals of 90 days recorded by 780 patients). The percentages of patients having 0,
 1-7, 8-21, or >21 days of spotting or bleeding over a 90-day interval while using the non-radiopaque
 etonogestrel implant are shown in Table 1.

      Table 1: Bleeding or Spotting: Incidence and Duration Over a 90-Day Interval While Using
 the Non-Radiopaque Etonogestrel Implant (IMPLANON)

  Total Days of                                 Percentage of Patients
  Bleeding or               Treatment Days         Treatment Days           Treatment Days
  Spotting                      91-180                 271-360                  631-720
                               (N = 745)              (N = 657)                (N = 547)
  0 Days                         19%                     24%                      17%
  1-7 Days                       15%                     13%                      12%
  8-21 Days                      30%                     30%                      37%
  >21 Days                       35%                     33%                      35%

       Bleeding patterns observed with use of the non-radiopaque etonogestrel implant for up to 2 years,
 and the proportion of 90-day intervals with these bleeding patterns, are summarized in Table 2.

      Table 2: Bleeding Patterns Using the Non-Radiopaque Etonogestrel Implant (IMPLANON)
 During the First 2 Years of Use*

  BLEEDING PATTERNS                         DEFINITIONS                            %†
   Infrequent                   Less than three bleeding and/or spotting           33.6
                                episodes in 90 days (excluding amenorrhea)
   Amenorrhea                   No bleeding and/or spotting in 90 days             22.2
   Prolonged                    Any bleeding and/or spotting episode lasting       17.7
                                more than 14 days in 90 days
   Frequent                     More than 5 bleeding and/or spotting               6.7
                                episodes in 90 days
 * Based on 3315 recording periods of 90 days duration in 780 women, excluding the first 90 days after
 implant insertion
 † % = Percentage of 90-day intervals with this pattern



     In case of undiagnosed, persistent, or recurrent abnormal vaginal bleeding, appropriate
 measures should be conducted to rule out malignancy.

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 5.3   Ectopic Pregnancies
       As with all progestin-only contraceptive products, be alert to the possibility of an ectopic
 pregnancy among women using NEXPLANON who become pregnant or complain of lower abdominal
 pain. Although ectopic pregnancies are uncommon among women using NEXPLANON, a pregnancy
 that occurs in a woman using NEXPLANON may be more likely to be ectopic than a pregnancy
 occurring in a woman using no contraception.
 5.4   Thrombotic and Other Vascular Events
       The use of combination hormonal contraceptives (progestin plus estrogen) increases the risk of
 vascular events, including arterial events (strokes and myocardial infarctions) or deep venous
 thrombotic events (venous thromboembolism, deep venous thrombosis, retinal vein thrombosis, and
 pulmonary embolism). NEXPLANON is a progestin-only contraceptive. It is unknown whether this
 increased risk is applicable to etonogestrel alone. It is recommended, however, that women with risk
 factors known to increase the risk of venous and arterial thromboembolism be carefully assessed.

      There have been postmarketing reports of serious arterial thrombotic and venous
 thromboembolic events, including cases of pulmonary emboli (some fatal), deep vein thrombosis,
 myocardial infarction, and strokes, in women using etonogestrel implants. NEXPLANON should be
 removed in the event of a thrombosis.

       Due to the risk of thromboembolism associated with pregnancy and immediately following
 delivery, NEXPLANON should not be used prior to 21 days postpartum. Women with a history of
 thromboembolic disorders should be made aware of the possibility of a recurrence.

       Evaluate for retinal vein thrombosis immediately if there is unexplained loss of vision, proptosis,
 diplopia, papilledema, or retinal vascular lesions.

         Consider removal of the NEXPLANON implant in case of long-term immobilization due to surgery
 or illness.
 5.5   Ovarian Cysts
       If follicular development occurs, atresia of the follicle is sometimes delayed, and the follicle may
 continue to grow beyond the size it would attain in a normal cycle. Generally, these enlarged follicles
 disappear spontaneously. On rare occasion, surgery may be required.
 5.6    Carcinoma of the Breast and Reproductive Organs
        Women who currently have or have had breast cancer should not use hormonal contraception
 because breast cancer may be hormonally sensitive [see Contraindications (4)]. Some studies suggest
 that the use of combination hormonal contraceptives might increase the incidence of breast cancer;
 however, other studies have not confirmed such findings.
        Some studies suggest that the use of combination hormonal contraceptives is associated with
 an increase in the risk of cervical cancer or intraepithelial neoplasia. However, there is controversy
 about the extent to which these findings are due to differences in sexual behavior and other factors.
        Women with a family history of breast cancer or who develop breast nodules should be carefully
 monitored.
 5.7    Liver Disease
        Disturbances of liver function may necessitate the discontinuation of hormonal contraceptive use
 until markers of liver function return to normal. Remove NEXPLANON if jaundice develops.

        Hepatic adenomas are associated with combination hormonal contraceptives use. An estimate
 of the attributable risk is 3.3 cases per 100,000 for combination hormonal contraceptives users. It is not
 known whether a similar risk exists with progestin-only methods like NEXPLANON.

      The progestin in NEXPLANON may be poorly metabolized in women with liver impairment. Use
 of NEXPLANON in women with active liver disease or liver cancer is contraindicated [see
 Contraindications (4)].

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 5.8   Weight Gain
       In clinical studies, mean weight gain in U.S. non-radiopaque etonogestrel implant (IMPLANON)
 users was 2.8 pounds after one year and 3.7 pounds after two years. How much of the weight gain was
 related to the non-radiopaque etonogestrel implant is unknown. In studies, 2.3% of the users reported
 weight gain as the reason for having the non-radiopaque etonogestrel implant removed.
 5.9   Elevated Blood Pressure
       Women with a history of hypertension-related diseases or renal disease should be discouraged
 from using hormonal contraception. For women with well-controlled hypertension, use of NEXPLANON
 can be considered. Women with hypertension using NEXPLANON should be closely monitored. If
 sustained hypertension develops during the use of NEXPLANON, or if a significant increase in blood
 pressure does not respond adequately to antihypertensive therapy, NEXPLANON should be removed.
 5.10 Gallbladder Disease
       Studies suggest a small increased relative risk of developing gallbladder disease among
 combination hormonal contraceptive users. It is not known whether a similar risk exists with progestin-
 only methods like NEXPLANON.
 5.11 Carbohydrate and Lipid Metabolic Effects
       Use of NEXPLANON may induce mild insulin resistance and small changes in glucose
 concentrations of unknown clinical significance. Carefully monitor prediabetic and diabetic women
 using NEXPLANON.

      Women who are being treated for hyperlipidemia should be followed closely if they elect to use
 NEXPLANON. Some progestins may elevate LDL levels and may render the control of hyperlipidemia
 more difficult.
 5.12 Depressed Mood
       Women with a history of depressed mood should be carefully observed. Consideration should be
 given to removing NEXPLANON in patients who become significantly depressed.
 5.13 Return to Ovulation
        In clinical trials with the non-radiopaque etonogestrel implant (IMPLANON), the etonogestrel
 levels in blood decreased below sensitivity of the assay by one week after removal of the implant. In
 addition, pregnancies were observed to occur as early as 7 to 14 days after removal. Therefore, a
 woman should re-start contraception immediately after removal of the implant if continued contraceptive
 protection is desired.
 5.14 Fluid Retention
        Hormonal contraceptives may cause some degree of fluid retention. They should be prescribed
 with caution, and only with careful monitoring, in patients with conditions which might be aggravated by
 fluid retention. It is unknown if NEXPLANON causes fluid retention.
 5.15 Contact Lenses
      Contact lens wearers who develop visual changes or changes in lens tolerance should be
 assessed by an ophthalmologist.
 5.16 Monitoring
        A woman who is using NEXPLANON should have a yearly visit with her healthcare professional
 for a blood pressure check and for other indicated health care.
 5.17 Drug-Laboratory Test Interactions
      Sex hormone-binding globulin concentrations may be decreased for the first six months after
 NEXPLANON insertion followed by gradual recovery. Thyroxine concentrations may initially be slightly
 decreased followed by gradual recovery to baseline.
 6    ADVERSE REACTIONS
      The following adverse reactions reported with the use of hormonal contraception are discussed
 elsewhere in the labeling:

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       •    Changes in Menstrual Bleeding Patterns [see Warnings and Precautions (5.2)]
       •    Ectopic Pregnancies [see Warnings and Precautions (5.3)]
       •    Thrombotic and Other Vascular Events [see Warnings and Precautions (5.4)]
       •    Liver Disease [see Warnings and Precautions (5.7)]
 6.1    Clinical Trials Experience
        Adverse reaction rates observed in the clinical trials of a drug cannot be directly compared to
 rates in the clinical trials of another drug and may not reflect the rates observed in practice, because
 clinical trials are conducted under widely varying conditions.

       In clinical trials involving 942 women who were evaluated for safety, change in menstrual
 bleeding patterns (irregular menses) was the most common adverse reaction causing discontinuation
 of use of the non-radiopaque etonogestrel implant (IMPLANON) (11.1% of women).

       Adverse reactions that resulted in a rate of discontinuation of ≥1% are shown in Table 3.

      Table 3: Adverse Reactions Leading to Discontinuation of Treatment in 1% or More
 of Subjects in Clinical Trials of the Non-Radiopaque Etonogestrel Implant (IMPLANON)

                                          All Studies
           Adverse Reactions
                                            N = 942
   Bleeding Irregularities*                  11.1%
   Emotional Lability†                        2.3%
   Weight Increase                            2.3%
   Headache                                   1.6%
   Acne                                       1.3%
   Depression‡                                1.0%
 * Includes “frequent”, “heavy”, “prolonged”, “spotting”, and other patterns of bleeding
 irregularity.
 †Among US subjects (N=330), 6.1% experienced emotional lability that led to discontinuation.
 ‡Among US subjects (N=330), 2.4% experienced depression that led to discontinuation.



      Other adverse reactions that were reported by at least 5% of subjects in the non-radiopaque
 etonogestrel implant clinical trials are listed in Table 4.




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     Table 4: Common Adverse Reactions Reported by ≥5% of Subjects in Clinical
 Trials with the Non-Radiopaque Etonogestrel Implant (IMPLANON)
                                        All Studies
           Adverse Reactions
                                          N = 942
   Headache                                24.9%
   Vaginitis                               14.5%
   Weight increase                         13.7%
   Acne                                    13.5%
   Breast pain                             12.8%
   Abdominal pain                          10.9%
   Pharyngitis                             10.5%
   Leukorrhea                               9.6%
   Influenza-like symptoms                  7.6%
   Dizziness                                7.2%
   Dysmenorrhea                             7.2%
   Back pain                                6.8%
   Emotional lability                       6.5%
   Nausea                                   6.4%
   Pain                                     5.6%
   Nervousness                              5.6%
   Depression                               5.5%
   Hypersensitivity                         5.4%
   Insertion site pain                      5.2%

        In a clinical trial of NEXPLANON, in which investigators were asked to examine the implant site
 after insertion, implant site reactions were reported in 8.6% of women. Erythema was the most frequent
 implant site complication, reported during or shortly after insertion, occurring in 3.3% of subjects.
 Additionally, hematoma (3.0%), bruising (2.0%), pain (1.0%), and swelling (0.7%) were reported.
 6.2    Postmarketing Experience
 Adverse Reactions and Events from Postmarketing Study

 Nexplanon Observational Risk Assessment Study (NORA)

       A postmarketing prospective active surveillance study was conducted among 7,364 patients in
 the United States to characterize the frequency of insertion-, localization-, and removal-related events.

       Implant Insertion

        Insertion difficulty or an insertion-related event occurred in 2.6% of the study participants. The
 overall incidence of incorrect insertion (unrecognized non-insertion, partial insertion, and deep
 insertion), reported by healthcare professionals was 12.6 per 1,000 insertions (95% CI, 10.2, 15.5).
 Table 5 summarizes the types and frequencies of these incorrect insertions.




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       Table 5: Incorrect Insertion Types and Incidence Reported by Healthcare Professionals

                                                     Number of         Incidence per 1,000 Insertions
        Type of Incorrect Insertion Event
                                                      Events*                    (95% CI)
   (Initially) Unrecognized Non-insertions                 1                     0.1 (0.0-0.8)
   Partial Insertions                                      27                    3.7 (2.4-5.3)
   Deep Insertions                                         65                  8.8 (6.8-11.2)
            Injury to nerve or blood vessel                1                     0.1 (0.0-0.8)
            Implant located within muscle                  2                     0.3 (0.0-1.0)
            Implant located adjacent to fascial
                                                           56                    7.6 (5.8-9.9)
            tissue
            Implant not palpable                           6                     0.8 (0.3-1.8)
 *Total Insertion Procedures = 7,364

       Implant Removal

        Implant removal information from both healthcare professionals and patients was collected for
 5,159 patients (70% of the study population). Of these patients, data were available from healthcare
 professionals regarding 4,373 removal procedures. Healthcare professionals reported removal-related
 difficulties or complications in 1.5% of removal procedures. Table 6 provides a summary.

       Table 6: Removal-related Events Reported by Healthcare Professionals

                                                     Number of         Incidence per 1,000 Removals
            Removal Related Events
                                                      Events*                    (95% CI)
   Any Event†                                              60                 13.7 (10.5-17.6)
   Encased in Fibrotic Tissue                              29                    6.6 (4.4-9.5)
   Implant Too Deep                                        11                    2.5 (1.3-4.5)
   Implant Migrated‡                                       6                     1.4 (0.5-3.0)
   Multiple Attempts Required                              13                    3.0 (1.6-5.1)
   Other§                                                  14                    3.2 (1.8-5.4)
 *Total Removal Procedures: N= 4,373
 †Limited to one event per removal procedure
 ‡Only local migrations within the arm reported
 §Other included fragmented or bent implants, patient-related issues, wound care required, two
 incisions required, and difficulty identifying end of device.
       At the time of implant removal, eighteen implants (0.4% of all localizations or removals) were not
 palpable by the healthcare professionals. Of these eighteen, eleven were localized and removed, and
 one was localized but left in situ. Removal was not attempted for six non-palpable implants due to
 underlying health conditions, administrative problems, or unspecified reasons.


        There were no reports of implants having migrated more than a few centimeters from the insertion
 site and no reports of implants localized at a site other than the arm. No neurovascular injuries were
 reported by healthcare professionals.




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 Adverse Reactions Reported by Patients

        Table 7 provides a summary of adverse reactions reported by patients at the time of implant
 insertion and after removal.

       Table 7: Adverse Reactions Reported by Patients at Implant Insertion and after Removal

                                         At Insertion                       After Removal
      Patient Reported                          Incidence per                        Incidence per
     Adverse Reactions             N*          1000 insertions          N*          1000 insertions
                                                   (95% CI)                             (95% CI)
   Any Event†                        49          6.7 (4.9-8.8)          42‡           5.7 (4.1-7.7)
   Pins and
   Needles/Numbness                  17           2.3 (1.4-3.7)          24           3.3 (2.1-4.9)
   (arm/hand/fingers)
   Severe Pain                       10           1.4 (0.7-2.5)          11           1.5 (0.8-2.7)
   Altered
                                      3           0.4 (0.1-1.2)           8           1.1 (0.5-2.1)
   Strength/Movement
   Injury to Blood Vessels
                                      2            0.3 (0-1.0)           --                 --
   or Blood Clots in Arm§
   Other¶                            22           3.0 (1.9-4.5)          18           2.4 (1.5-3.9)
 *Total Insertion Procedures: N = 7,364
 †Limited to one event per woman
 ‡Based on 3,447 questionnaires
 §No blood clots were observed during the study
 ¶“Other” included localized or insertion site pain, soreness, tenderness, dermatological changes,

 itching, bruising, and infection, local migrations within the arm, and physical damage to the implant
 (e.g., fractured or bent implant).

 In summary, this prospective active surveillance study showed that the frequency of insertion-,
 localization-, and removal-related events is consistent with results previously reported from clinical
 trials.

 Adverse Reactions from Postmarketing Spontaneous Reports

       The following additional adverse reactions have been identified during post-approval use of
 IMPLANON and NEXPLANON. It is not possible to reliably estimate their frequency or establish a
 causal relationship to drug exposure because these reactions are reported voluntarily from a population
 of uncertain size.

 Gastrointestinal disorders: constipation, diarrhea, flatulence, vomiting.
 General disorders and administration site conditions: edema, fatigue, implant site reaction, pyrexia.
 Immune system disorders: anaphylactic reactions.
 Infections and infestations: rhinitis, urinary tract infection.
 Investigations: clinically relevant rise in blood pressure, weight decreased.
 Metabolism and nutrition disorders: increased appetite.
 Musculoskeletal and connective tissue disorders: arthralgia, musculoskeletal pain, myalgia.
 Nervous system disorders: convulsions, migraine, somnolence.
 Pregnancy, puerperium and perinatal conditions: ectopic pregnancy.
 Psychiatric disorders: anxiety, insomnia, libido decreased.
 Renal and urinary disorders: dysuria.
 Reproductive system and breast disorders: breast discharge, breast enlargement, ovarian cyst, pruritus
 genital, vulvovaginal discomfort.
 Skin and subcutaneous tissue disorders: angioedema, aggravation of angioedema and/or aggravation
 of hereditary angioedema, alopecia, chloasma, hypertrichosis, pruritus, rash, seborrhea, urticaria.

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 Vascular disorders: hot flush.

        Reported complications related to insertion or removal of the etonogestrel implants include
 vasovagal reactions (e.g., hypotension, dizziness, or syncope), bruising, slight local irritation, pain,
 itching, fibrosis at the implant site, paresthesia or paresthesia-like events, scarring, and abscesses.
 Implant expulsions and migrations also have been reported. In some cases, implants have migrated to
 the chest wall or into the vasculature, including the pulmonary artery. Some cases of implants migrating
 to the pulmonary artery presented with symptoms of chest pain and/or respiratory disorders (e.g.,
 dyspnea, cough, or hemoptysis); other cases have been reported as asymptomatic. In-patient surgical
 interventions might be necessary when removing implants associated with complications [see
 Warnings and Precautions (5.1)].


 7     DRUG INTERACTIONS
       Consult the labeling of concurrently-used drugs to obtain further information about interactions
 with hormonal contraceptives or the potential for enzyme alterations.
 7.1   Effects of Other Drugs on Hormonal Contraceptives

      Substances decreasing the plasma concentrations of hormonal contraceptives (HCs) and
 potentially diminishing the efficacy of HCs:
      Drugs or herbal products that induce certain enzymes, including cytochrome P450 3A4
 (CYP3A4), may decrease the plasma concentrations of HCs and potentially diminish the effectiveness
 of HCs or increase breakthrough bleeding.

       Some drugs or herbal products that may decrease the effectiveness of HCs include efavirenz,
 phenytoin, barbiturates, carbamazepine, bosentan, felbamate, griseofulvin, oxcarbazepine, rifampicin,
 topiramate, rifabutin, rufinamide, aprepitant, and products containing St. John’s wort. Interactions
 between HCs and other drugs may lead to breakthrough bleeding and/or contraceptive failure. Counsel
 women to use an alternative non-hormonal method of contraception or a back-up method when enzyme
 inducers are used with HCs, and to continue back-up non-hormonal contraception for 28 days after
 discontinuing the enzyme inducer to ensure contraceptive reliability.

       Substances increasing the plasma concentrations of HCs:
        Co-administration of certain HCs and strong or moderate CYP3A4 inhibitors such as
 itraconazole, voriconazole, fluconazole, grapefruit juice, or ketoconazole may increase the serum
 concentrations of progestins, including etonogestrel.

        Human Immunodeficiency Virus (HIV)/Hepatitis C Virus (HCV) protease inhibitors and non-
 nucleoside reverse transcriptase inhibitors:
        Significant changes (increase or decrease) in the plasma concentrations of progestin have been
 noted in cases of co-administration with HIV protease inhibitors (decrease [e.g., nelfinavir, ritonavir,
 darunavir/ritonavir, (fos)amprenavir/ritonavir, lopinavir/ritonavir, and tipranavir/ritonavir] or increase
 [e.g., indinavir and atazanavir/ritonavir])/HCV protease inhibitors (decrease [e.g., boceprevir and
 telaprevir]) or with non-nucleoside reverse transcriptase inhibitors (decrease [e.g., nevirapine,
 efavirenz] or increase [e.g., etravirine]). These changes may be clinically relevant in some cases.

        Consult the prescribing information of anti-viral and anti-retroviral concomitant medications to
 identify potential interactions.
 7.2  Effects of Hormonal Contraceptives on Other Drugs
      Hormonal contraceptives may affect the metabolism of other drugs. Consequently, plasma
 concentrations may either increase (for example, cyclosporine) or decrease (for example, lamotrigine).
 Consult the labeling of all concurrently-used drugs to obtain further information about interactions with
 hormonal contraceptives or the potential for enzyme alterations.


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 8     USE IN SPECIFIC POPULATIONS
 8.1 Pregnancy
 Risk Summary
       NEXPLANON is contraindicated during pregnancy because there is no need for pregnancy
 prevention in a woman who is already pregnant [see Contraindications (4)]. Epidemiologic studies and
 meta-analyses have not shown an increased risk of genital or non-genital birth defects (including
 cardiac anomalies and limb-reduction defects) following maternal exposure to low dose CHCs prior to
 conception or during early pregnancy. No adverse development outcomes were observed in pregnant
 rats and rabbits with the administration of etonogestrel during organogenesis at doses of 315 or 781
 times the anticipated human dose (60 µg/day) (see Data).

       NEXPLANON should be removed if maintaining a pregnancy.

 Data
 Animal Data
 Teratology studies have been performed in rats and rabbits using oral administration up to 315 and 781
 times the human etonogestrel dose (based upon body surface) and revealed no evidence of fetal harm
 due to etonogestrel exposure.
 8.2 Lactation
 Risk Summary
 Small amounts of contraceptive steroids and/or metabolites, including etonogestrel are present in
 human milk. No significant adverse effects have been observed in the production or quality of breast
 milk, or on the physical and psychomotor development of breastfed infants (see Data).

 Hormonal contraceptives, including etonogestrel, can reduce milk production in breastfeeding mothers.
 This is less likely to occur once breastfeeding is well-established; however, it can occur at any time in
 some women. When possible, advise the nursing mother about both hormonal and non-hormonal
 contraceptive options, as steroids may not be the initial choice for these patients. The developmental
 and health benefits of breastfeeding should be considered along with the mother’s clinical need for
 NEXPLANON and any potential adverse effects on the breastfed child from NEXPLANON or from the
 underlying maternal condition.

 Data
 The amount of etonogestrel contained within breast milk was measured in 38 lactating women who
 began using IMPLANON during the fourth to eighth week postpartum. The study evaluated Implanon
 versus another contraceptive, was not randomized and data were considered observational and
 exploratory; therefore, comparisons could not be made. Based on the findings of this study, during the
 first months after insertion of IMPLANON, when maternal blood levels of etonogestrel are highest, about
 100 ng of etonogestrel may be ingested by the child per day based on an average daily milk ingestion
 of 658 mL. Based on daily milk ingestion of 150 mL/kg, the mean daily infant etonogestrel dose one
 month after insertion of IMPLANON is about 2.2% of the weight-adjusted maternal daily dose, or about
 0.2% of the estimated absolute maternal daily dose. Adverse reactions were not observed in breastfed
 infants exposed to etonogestrel through breast milk. No adverse effects on the production or quality of
 breast milk were detected.


 8.4    Pediatric Use
        Safety and efficacy of NEXPLANON have been established in women of reproductive age. Safety
 and efficacy of NEXPLANON are expected to be the same for postpubertal adolescents. However, no
 clinical studies have been conducted in women less than 18 years of age. Use of this product before
 menarche is not indicated.
 8.5  Geriatric Use
      This product has not been studied in women over 65 years of age and is not indicated in this
 population.

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 8.6  Hepatic Impairment
      No studies were conducted to evaluate the effect of hepatic disease on the disposition of
 NEXPLANON. The use of NEXPLANON in women with active liver disease is contraindicated [see
 Contraindications (4)].
 8.7    Overweight Women
        The effectiveness of the etonogestrel implant in women who weighed more than 130% of their
 ideal body weight has not been defined because such women were not studied in clinical trials. Serum
 concentrations of etonogestrel are inversely related to body weight and decrease with time after implant
 insertion. It is therefore possible that NEXPLANON may be less effective in overweight women,
 especially in the presence of other factors that decrease serum etonogestrel concentrations such as
 concomitant use of hepatic enzyme inducers.
 10    OVERDOSAGE
       Overdosage may result if more than one implant is inserted. In case of suspected overdose, the
 implant should be removed.
 11     DESCRIPTION
        NEXPLANON is a radiopaque, progestin-only, soft, flexible implant preloaded in a sterile,
 disposable applicator for subdermal use. The implant is white/off-white, non-biodegradable and 4 cm
 in length with a diameter of 2 mm (see Figure 19). Each implant consists of an ethylene vinyl acetate
 (EVA) copolymer (28% vinyl acetate, 43 mg) core, containing 68 mg of the synthetic progestin
 etonogestrel, barium sulfate ((15 mg), radiopaque ingredient), and magnesium stearate (0.1 mg),
 surrounded by an EVA copolymer skin. Once inserted subdermally, the release rate is 60-70 mcg/day
 in week 5-6 and decreases to approximately 35-45 mcg/day at the end of the first year, to approximately
 30-40 mcg/day at the end of the second year, and then to approximately 25-30 mcg/day at the end of
 the third year. NEXPLANON is a progestin-only contraceptive and does not contain estrogen.
 NEXPLANON does not contain latex.




                                          Figure 19 (Not to scale)


       Etonogestrel      [13-Ethyl-17-hydroxy-11-methylene-18,19-dinor-17α-pregn-4-en-20-yn-3-one],
 structurally derived from 19-nortestosterone, is the synthetic biologically active metabolite of the
 synthetic progestin desogestrel. It has a molecular weight of 324.46 and the following structural formula
 (Figure 20).




                                                  Figure 20




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 12     CLINICAL PHARMACOLOGY
 12.1 Mechanism of Action
       The contraceptive effect of NEXPLANON is achieved by suppression of ovulation, increased
 viscosity of the cervical mucus, and alterations in the endometrium.
 12.2 Pharmacodynamics
      Exposure-response relationships of NEXPLANON are unknown.
 12.3 Pharmacokinetics
       Absorption
       After subdermal insertion of the etonogestrel implant, etonogestrel is released into the circulation
 and is approximately 100% bioavailable.

     In a three-year clinical trial, NEXPLANON and the non-radiopaque etonogestrel implant
 (IMPLANON) yielded comparable systemic exposure to etonogestrel. For NEXPLANON, the mean (±
 SD) maximum serum etonogestrel concentrations were 1200 (± 604) pg/mL and were reached within
 the first two weeks after insertion (n=50). The mean (± SD) serum etonogestrel concentration
 decreased gradually over time, declining to 202 (± 55) pg/mL at 12 months (n=41), 164 (± 58) pg/mL
 at 24 months (n=37), and 138 (± 43) pg/mL at 36 months (n=32). For the non-radiopaque etonogestrel
 implant (IMPLANON), the mean (± SD) maximum serum etonogestrel concentrations were 1145 (±
 577) pg/mL and were reached within the first two weeks after insertion (n=53). The mean (± SD) serum
 etonogestrel concentration decreased gradually over time, declining to 223 (± 73) pg/mL at 12 months
 (n=40), 172 (± 77) pg/mL at 24 months (n=32), and 153 (± 52) pg/mL at 36 months (n=30).

      The pharmacokinetic profile of NEXPLANON is shown in Figure 21.


 Figure 21: Mean (± SD) Serum Concentration-Time Profile of Etonogestrel After Insertion of
 NEXPLANON During 3 Years of Use




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      Distribution
      The apparent volume of distribution averages about 201 L. Etonogestrel is approximately 32%
 bound to sex hormone binding globulin (SHBG) and 66% bound to albumin in blood.

       Metabolism
       In vitro data shows that etonogestrel is metabolized in liver microsomes by the cytochrome P450
 3A4 isoenzyme. The biological activity of etonogestrel metabolites is unknown.

        Excretion
        The elimination half-life of etonogestrel is approximately 25 hours. Excretion of etonogestrel and
 its metabolites, either as free steroid or as conjugates, is mainly in urine and to a lesser extent in feces.
 After removal of the implant, etonogestrel concentrations decreased below sensitivity of the assay by
 one week.
 13    NONCLINICAL TOXICOLOGY
 13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
        In a 24-month carcinogenicity study in rats with subdermal implants releasing 10 and 20 mcg
 etonogestrel per day (equal to approximately 1.8-3.6 times the systemic steady state exposure in
 women using NEXPLANON), no drug-related carcinogenic potential was observed. Etonogestrel was
 not genotoxic in the in vitro Ames/Salmonella reverse mutation assay, the chromosomal aberration
 assay in Chinese hamster ovary cells or in the in vivo mouse micronucleus test. Fertility in rats returned
 after withdrawal from treatment.
 14    CLINICAL STUDIES
 14.1 Pregnancy
      In clinical trials of up to 3 years duration that involved 923 subjects, 18-40 years of age at entry,
 and 1756 women-years of use with the non-radiopaque etonogestrel implant (IMPLANON), the total
 exposures expressed as 28-day cycle equivalents by study year were:
      Year 1: 10,866 cycles
      Year 2: 8,581 cycles
      Year 3: 3,442 cycles

       The clinical trials excluded women who:
       • Weighed more than 130% of their ideal body weight
       • Were chronically taking medications that induce liver enzymes

       In the subgroup of women, 18-35 years of age at entry, 6 pregnancies during 20,648 cycles of
 use were reported. Two pregnancies occurred in each of Years 1, 2, and 3. Each conception was likely
 to have occurred shortly before or within 2 weeks after removal of the non-radiopaque etonogestrel
 implant. With these 6 pregnancies, the cumulative Pearl Index was 0.38 pregnancies per 100 women-
 years of use.
 14.2 Return to Ovulation
        In clinical trials with the non-radiopaque etonogestrel implant (IMPLANON), the etonogestrel
 levels in blood decreased below sensitivity of the assay by one week after removal of the implant. In
 addition, pregnancies were observed to occur as early as 7 to 14 days after removal. Therefore, a
 woman should re-start contraception immediately after removal of the implant if continued contraceptive
 protection is desired.
 14.3 Implant Insertion and Removal Characteristics
       Out of 301 insertions of the NEXPLANON implant in a clinical trial, the mean insertion time (from
 the removal of the protection cap of the applicator until retraction of the needle from the arm) was 27.9
 ± 29.3 seconds. After insertion, 300 out of 301 (99.7%) NEXPLANON implants were palpable. The
 single, non-palpable implant was not inserted according to the instructions.


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       For 112 out of 114 (98.2%) subjects in 2 clinical trials for whom insertion and removal data were
 available, NEXPLANON implants were clearly visible with use of two-dimensional x-ray after insertion.
 The two implants that were not clearly visible after insertion were clearly visible with two-dimensional
 x-ray before removal.
 16    HOW SUPPLIED/STORAGE AND HANDLING
 16.1 How Supplied
    NEXPLANON is supplied as follows:
 NDC 78206-145-01
        One NEXPLANON package consists of a single implant containing 68 mg etonogestrel, 15 mg
 of barium sulfate and 0.1 mg of magnesium stearate that is 4 cm in length and 2 mm in diameter, which
 is pre-loaded in the needle of a disposable applicator. The sterile applicator containing the implant is
 packed in a blister pack.
 16.2 Storage and Handling
      Store NEXPLANON (etonogestrel implant) Radiopaque at 25ºC (77ºF); excursions permitted to
 15-30ºC (59-86ºF) [see USP Controlled Room Temperature]. Avoid storing NEXPLANON at
 temperatures above 30ºC (86ºF).
 17    PATIENT COUNSELING INFORMATION

 Advise the patient to read the FDA-approved patient labeling (Patient Information).

      •   Counsel women about the insertion and removal procedure of the NEXPLANON implant.
          Provide the woman with a copy of the Patient Labeling and ensure that she understands the
          information in the Patient Labeling before insertion and removal.

      •   Counsel women to contact their healthcare professional immediately if, at any time, they are
          unable to palpate the implant.

      •   Counsel women that NEXPLANON does not protect against HIV infection (AIDS) or other
          sexually transmitted diseases.

      •   Counsel women that the use of NEXPLANON may be associated with changes in their normal
          menstrual bleeding patterns so that they know what to expect.


      •   MRI Safety Information: NEXPLANON is MR safe.




 Manufactured by: N.V. Organon, Oss, The Netherlands, a subsidiary of Organon & Co., Jersey City, NJ
 07302, USA
 For patent information: www.organon.com/our-solutions/patent/

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